          Case 6:21-cv-00441-LSC Document 3 Filed 04/02/21 Page 1 of 1                     FILED
                                                                                  2021 Apr-02 AM 08:52
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                          JASPER DIVISION

                                        )
Kimberly Vaughn,                        )
                                        )
      Plaintiff,                        )
                                        )
vs.                                     )          6:21-cv-00441-LSC
                                        )
Auto-Owners Insurance                   )
Company,                                )
                                        )
      Defendant.                        )
                                        )

                                   ORDER

       The Court acknowledges receipt of the plaintiff’s notice of voluntary

dismissal. See Fed. R. Civ. P. 41(a). This action is DISMISSED WITHOUT

PREJUDICE. Costs are taxed as paid.

              DONE and ORDERED on April 2, 2021.



                                             _____________________________
                                                     L. Scott Coogler
                                                United States District Judge
                                                                               203323




                                    Page 1 of 1
